Case 1:14-cr-00068-LGS Document 70-11 Filed 10/01/14 Page1of1

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2M Ga |

No. Time Source Destination Protocol | Lengtl Info
6650 2014-09-20 14:46:59.932906000 192.168.1.7 S0.17.171.137 TCP 66 38321 > http [ACK] Seq=1771 Ack=778 Win=32512 Len=0 TSval=9117253 TSe
6651 2014-09-20 14:46:59.980803000 192.168.1.7 198.51.158.116 TCP 66 56959 > http [FIN, ACK] Seq=701 Ack=1515 Win=32256 Len=0 TSval=911726
6652 2014-09-20 14:46:59.995208000 198.51.158.116 192.168.1.7 TCP 66 http > 56959 [FIN, ACK] Seq=1515 Ack=702 Win=5888 Len=0 TSval=267546¢
Joh Si ol= Sr l0 as a Eesha |= Pao \= i= 0]0/0 a k= Pe l= bolo\o) Sea aid VO Se V0 Vol SRS Og Peal lO EY lol)
6654 2014-09-20 14:47:00.070722000 Actionte_Sa:2a:2a 3c:15:c2:d7:88:9a LLC 58 U, func=Unknown; DSAP 0x26 Group, SSAP Remote Program Load Response
6655 2014-09-20 14:47:00.230087000 Actionte_Sa:2a:2a 3c:15:02:d7:88:9a LLC 82 U, func=Unknown; DSAP 0x28 Group, SSAP Remote Program Load Response
6656 2014-09-20 14:47:00.232958000 Actionte_Sa:2a:2a 3c:15:02:d7:88:9a LLC 82 U, func=Unknown; DSAP Ox2a Group, SSAP Remote Program Load Response
6657 2014-09-20 14:47:00.233605000 Actionte_Sa:2a:2a 3c:15:02:d7:88:9a LLC 82 U, func=Unknown; DSAP Ox2c Individual, SSAP Remote Program Load Fespof
6658 2014-09-20 14:47:00.273951000 Actionte_ (Ox2e Individual, SSAP Remote Program Load Respo

+ Frame 6653: 66 bytes on wire (528 bits), 66 b
+ Ethernet II, Src: IntelCor_29:bc:79 (4c:80:93
+ Internet Protocol Version 4, Src: 192.168.1.7
+ Transmission Control Protocol, Sre Port: S695¢

ww Do you want to save the captured packets before quitting?

Your captured packets will be lost if you don't save them.

Quit without Saving Cancel Save

0000 00 1f 90 Sa 2a 2a 4c 80 93 29 bc 79 08 00 45 00
0010 00 34 90 Ol 40 00 40 06 84 6b cO a8 Ol 07 c6 33
0020 9e 74 de 7f 00 50 34 7a aO 24 f5 22 f6 62 80 10
0030 00 fc aa 2b 00 00 Ol O1 O08 Oa OO Sb le 54 Of 78
0040 47 f2

@ © File: "/tmp/wireshark_pcapng_wla... | Packets: 6678 - Displayed: 6678 (100.0%) - Dropped: 0 (0.0%) Profile: Default

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